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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11   WESCO INSURANCE COMPANY       )                           Case No.: 2:19-cv-8171 PA (SKx)
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                                   )
               Plaintiff,          )                           ORDER OF DISMISSAL OF
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                                   )                           CERTAIN DEFENDANTS
           vs.                     )                           PURSUANT TO STIPULATION
14
                                   )
     TAULER SMITH LLP, ROMA MIKHA, )                           Judge:                   Hon. Percy Anderson
     INC., NMRM, INC., AND SKYLINE )
15   MARKET, INC.                  )                           Dept:                    Courtroom 9A
16
                                   )                           Action Filed:            September 20, 2019
               Defendants.         )                           Trial Date:              September 1, 2020
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                                   )

18         Pursuant to the stipulation of all parties, Wesco Insurance Company’s complaint
19   against Roma Mikha, Inc., NMRM, Inc. and Skyline Market, Inc. only is dismissed with
20   prejudice. Each party is to bear its own costs and attorneys’ fees. Wesco’s complaint
21   shall remain pending against Tauler Smith LLP and Tauler Smith’s counterclaim
22   against Wesco shall remain pending.
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     Dated this 13th day of April, 2020
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                                                                             Percy Anderson
26                                                                      United States District Judge
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                             Order of Dismissal of Certain Defendants Pursuant to Stipulation
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